    3:18-mc-03002-RM-TSH # 1-1   Page 1 of 14                            E-FILED
                                                Friday, 01 June, 2018 01:44:39 PM
                                                     Clerk, U.S. District Court, ILCD

 

 

 

 

 

 

 

 

 



                    EXHIBIT A
      3:18-mc-03002-RM-TSH # 1-1          Page 2 of 14



                         UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF ILLINOIS
                             SPRINGFIELD DIVISION

 DIANE BROWN,                                       United States District Court
                                                    Eastern District of Louisiana
        Plaintiff,                                  Case No. 2:18-cv-02168-LMA-JC
                                                    (Issuing Court under FRCP 45)
 v.

 SOUTHERN VISIONS, LLP, DBA
 SWEET BREW TEA AND SUGAR CO.

        Defendant.

                              Agreed Confidentiality Order

       The parties to this agreed confidentiality order have agreed to the terms of this

order; accordingly, it is ordered that:

       1.     Scope. All materials produced by Bunn-O-Matic Corporation and all

initial disclosures, responses to discovery requests, deposition testimony and exhibits,

and information derived directly therefrom (collectively “documents”) shall be subject

to this order concerning Confidential Information as defined below. This order is

subject to the Local Rules of this Court and the Issuing Court and the Federal Rules of

Civil Procedure.

       2.     Confidential Information. As used in this order, “Confidential

Information” means information designated as “CONFIDENTIAL-SUBJECT TO

PROTECTIVE ORDER” by Bunn-O-Matic Corporation that falls within one or more of

the following categories: (a) information prohibited from disclosure by statute; (b)


                                            1
      3:18-mc-03002-RM-TSH # 1-1          Page 3 of 14



information that reveals trade secrets; (c) research, technical, commercial or financial

information that has been maintained as confidential; and (d) personal identity

information or records of a person who is not a party to the case. Information or

documents that are available to the public may not be designated as Confidential

Information.

       3.      Designation.

       (a)     Bunn-O-Matic Corporation or any party may designate a document as

Confidential Information for protection under this order by placing or affixing the

words “CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER” on the document and

on all copies in a manner that will not interfere with the legibility of the document. As

used in this order, “copies” includes electronic images, duplicates, extracts, summaries

or descriptions that contain the Confidential Information. The marking

“CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER” shall be applied before or at

the time of the documents are produced or disclosed. Applying the marking

“CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER” to a document does not

mean that the document has any status or protection by statute or otherwise except to

the extent and for the purposes of this order. Any copies that are made of any

documents marked “CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER” shall also

be so marked, except that indices, electronic databases or lists of documents that do not

contain substantial portions or images of the text of marked documents and do not



                                             2
      3:18-mc-03002-RM-TSH # 1-1          Page 4 of 14



otherwise disclose the substance of the Confidential Information are not required to be

marked.

       (b)    The designation of a document as Confidential Information is a

certification by an attorney that the document contains Confidential Information as

defined in this order.

       4.     Depositions. Unless all parties agree on the record at the time the

deposition testimony is taken, all deposition testimony taken in this case with use of

Confidential Information shall be treated as Confidential Information.

       5.     Protection of Confidential Material.

       (a)    General Protections. Confidential Information shall not be used or

disclosed by the parties, counsel for the parties, or any other persons identified in

subparagraph (b) for any purpose whatsoever other than in this litigation, including

any appeal.

       (b)    Limited Third-Party Disclosures. The parties and counsel for the parties

shall not disclose or permit the disclosure of any Confidential Information to any third

person or entity except as set forth in subparagraphs (1) through (9). Subject to these

requirements, the following categories of persons may be allowed to review

Confidential Information:

       (1)    Counsel. Counsel for the parties and employees of the counsel who have

responsibility for the action;



                                             3
      3:18-mc-03002-RM-TSH # 1-1           Page 5 of 14



       (2)    Parties. Individual parties and employees of the parties but only to the

extent counsel determines in good faith that the party’s or employee’s assistance is

reasonably necessary to the conduct of the litigation in which the information is

disclosed;

       (3)    Insurers. Insurers of the parties and employees of the insurers but only to

the extent counsel determines in good faith that the insurer’s or employee’s assistance is

reasonably necessary to the conduct of the litigation in which the information is

disclosed;

       (4)    The Court and its personnel;

       (5)    Court Reporters and Recorders. Court reporters and recorders engaged

for depositions;

       (6)    Contractors. Those persons specifically engaged for the limited purpose of

making copies of documents or organizing or processing documents, including outside

vendors hired to process electronically stored documents, but only after such persons

have completed the certification contained in Attachment A, Acknowledgment of

Understanding and Agreement to Be Bound;

       (7)    Consultants and Experts. Consultants, investigators, or experts employed

by the parties or counsel for the parties to assist in the preparation and trial of this

action but only after such persons have completed the certification contained in

Attachment A, Acknowledgment of Understanding and Agreement to Be Bound;



                                              4
        3:18-mc-03002-RM-TSH # 1-1        Page 6 of 14



        (8)    Witnesses at depositions. During their depositions, witnesses in this action

to whom disclosure is reasonably necessary. Witnesses shall not retain a copy of

documents containing Confidential Information, except witnesses may receive a copy of

all exhibits marked at their depositions in connection with review of the transcripts.

Pages of transcribed deposition testimony or exhibits to depositions that contain

Confidential Information must be separately bound by the court reporter and may not

be disclosed to anyone except as permitted under this order.

        (9)    Author or recipient. The author or recipient of the document (not

including a person who received the document in the course of litigation); and

        (10)   Others by Consent. Other persons only by written consent of Bunn-O-

Matic Corporation or upon order of this Court or the Issuing Court and on such

conditions as may be agreed or ordered.

        (c)    Control of Documents. Counsel for the parties shall make reasonable

efforts to prevent unauthorized or inadvertent disclosure of Confidential Information.

Counsel shall maintain the originals of the forms signed by persons acknowledging

their obligations under this order for a period of three years after the termination of the

case.

        6.     Inadvertent Failure to Designate. An inadvertent failure to designate a

document as Confidential Information does not, standing alone, waive the right to so

designate the document. If a document is designated as Confidential Information after



                                             5
      3:18-mc-03002-RM-TSH # 1-1          Page 7 of 14



it was initially produced, the receiving party, on notification of the designation, must

make a reasonable effort to assure that the document is treated in accordance with the

provisions of this order. No party shall be found to have violated this Order for failing

to maintain the confidentiality of material during a time when that material has not

been designated Confidential Information, even where the failure to so designate was

inadvertent and where the material is subsequently designated Confidential

Information.

       7.      Filing of Confidential Information. This order does not, by itself,

authorize the filing of any document under seal. Any party wishing to file a document

designated as Confidential Information in connection with a motion, brief or other

submission must comply with this order, the Local Rules of this Court and the Issuing

Court, and the Federal Rules of Civil Procedure.

       8.      No Greater Protection of Specific Documents. Except on privilege

grounds not addressed by this order, no party may withhold information from

discovery on the ground that it requires protection greater than that afforded by this

order unless the party moves for an order providing such special protection.

       9.      Challenges by a Party to Designation as Confidential Information. The

designation of any material or document as Confidential Information is subject to

challenge by any party. The following procedure shall apply to any such challenge.

       (a)     Meet and Confer. A party challenging the designation of Confidential



                                             6
       3:18-mc-03002-RM-TSH # 1-1            Page 8 of 14



Information must do so in good faith and must begin the process by conferring directly

with counsel for Bunn-O-Matic Corporation. In conferring, the challenging party must

explain the basis for its belief that the confidentiality designation was not proper and

must give the designating party an opportunity to review the designated material, to

reconsider the designation, and, if no change in designation is offered, to explain the

basis for the designation. Bunn-O-Matic Corporation must respond to the challenge

within five business days.

       (b)       Judicial Intervention. A party that elects to challenge a confidentiality

designation may file and serve a motion that identifies the challenged material and sets

forth in detail the basis for the challenge. Each such motion must be accompanied by a

competent declaration that affirms that the movant has complied with the meet and

confer requirements of this procedure. The burden of persuasion in any such challenge

proceeding shall be on the designating party. Until the Court rules on the challenge, all

parties shall continue to treat the materials as Confidential Information under the terms

of this order.

       10.       Action by the Court. Applications to the Court for an order relating to

materials or documents designated Confidential Information shall be by motion.

Nothing in this order or any action or agreement of a party under this order limits this

Court’s or the Issuing Court’s power to make orders concerning the disclosure of

documents produced in discovery or at trial.



                                                7
         3:18-mc-03002-RM-TSH # 1-1        Page 9 of 14



         11.   Use of Confidential Documents or Information at Trial. Nothing in this

order shall be construed to affect the use of any document, material, or information at

any trial or hearing. A party that intends to present or that anticipates that another

party may present Confidential information at a hearing or trial shall bring that issue to

the Court’s, Bunn-O-Matic Corporation’s, and all parties’ attention by motion or in a

pretrial memorandum without disclosing the Confidential Information. The Court may

thereafter make such orders as are necessary to govern the use of such documents or

information at trial.

         12.   Confidential Information Subpoenaed or Ordered Produced in Other

Litigation.

         (a)   If a party is served with a subpoena or an order issued in other litigation

that would compel disclosure of any material or document designated in this action as

Confidential Information, the party must so notify Bunn-O-Matic Corporation, in

writing, immediately and in no event more than three court days after receiving the

subpoena or order. Such notification must include a copy of the subpoena or court

order.

         (b)   The party also must immediately inform in writing the party who caused

the subpoena or order to issue in the other litigation that some or all of the material

covered by the subpoena or order is the subject of this order. In addition, the party must

deliver a copy of this order promptly to the party in the other action that caused the



                                              8
      3:18-mc-03002-RM-TSH # 1-1          Page 10 of 14



subpoena to issue.

       (c)    The purpose of imposing these duties is to alert the interested persons to

the existence of this order and to afford Bunn-O-Matic Corporation an opportunity to

try to protect its Confidential Information in the court from which the subpoena or

order issued. Bunn-O-Matic Corporation shall bear the burden and the expense of

seeking protection in that court of its Confidential Information, and nothing in these

provisions should be construed as authorizing or encouraging a receiving party in this

action to disobey a lawful directive from another court. The obligations set forth in this

paragraph remain in effect while the party has in its possession, custody or control

Confidential Information by the other party to this case.

       13.    Challenges by Members of the Public to Sealing Orders. A party or

interested member of the public has a right to challenge the sealing of particular

documents that have been filed under seal, and the party asserting confidentiality will

have the burden of demonstrating the propriety of filing under seal.

       14.    Obligations on Conclusion of Litigation.

       (a)    Order Continues in Force. Unless otherwise agreed or ordered, this order

shall remain in force after dismissal or entry of final judgment not subject to further

appeal.

       (b)    Obligations at Conclusion of Litigation. Within sixty days after dismissal

or entry of final judgment not subject to further appeal, all Confidential Information



                                             9
      3:18-mc-03002-RM-TSH # 1-1          Page 11 of 14



and documents marked “CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER”

under this order, including copies as defined above, shall be returned to Bunn-O-Matic

Corporation unless: (1) the document has been offered into evidence or filed without

restriction as to disclosure; (2) Bunn-O-Matic Corporation agrees to destruction to the

extent practicable in lieu of return; or (3) as to documents bearing the notations,

summations, or other mental impressions, the party elects to destroy the documents

and certifies to Bunn-O-Matic Corporation that it has done so.

         (c)   Retention of Work Product and one set of Filed Documents.

Notwithstanding the above requirements to return or destroy documents, counsel may

retain (1) attorney work product, including an index that refers or relates to designated

Confidential Information so long as that work product does not duplicate verbatim

substantial portions of Confidential Information, and (2) one complete set of all

documents filed with the Court including those filed under seal. Any retained

Confidential Information shall continue to be protected under this order. An attorney

may use his or her work product in subsequent litigation, provided that its use does not

disclose or use Confidential Information.

         (d)   Deletion of Documents filed under Seal from Electronic Case Filing (ECF)

System. Filings under seal shall be deleted from the ECF system only upon order of the

Court.

         15.   Order Subject to Modification. This order shall be subject to modification



                                            10
      3:18-mc-03002-RM-TSH # 1-1          Page 12 of 14



by this Court or the Issuing Court on its own initiative or on motion of a party or any

other person with standing concerning the subject matter.

       16.      No Prior Judicial Determination. This order is entered based on the

representations and agreements of the parties and Bunn-O-Matic Corporation and for

the purpose of facilitating discovery. Nothing herein shall be construed or presented as

a judicial determination that any document or material designated Confidential

Information by counsel or the parties is entitled to protection under the Federal Rules of

Civil Procedure or otherwise until such time as the Court may rule on a specific

document or issue.

       17.      Persons Bound. This order shall take effect when entered and shall be

binding upon all counsel of record and their law firms, the parties, and persons made

subject to this order by its terms.

       SO ORDERED.




       Dated:




                                             11
     3:18-mc-03002-RM-TSH # 1-1         Page 13 of 14




Respectfully submitted and agreed,




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                                          12
         3:18-mc-03002-RM-TSH # 1-1        Page 14 of 14



                         UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF ILLINOIS
                             SPRINGFIELD DIVISION

 DIANE BROWN,                                           ISSUING COURT:

          Plaintiff,                                    United States District Court
                                                        Eastern District of Louisiana
 v.                                                     Case No. 2:18-cv-02168-LMA-
                                                  JCW
 SOUTHERN VISIONS, LLP, DBA
 SWEET BREW TEA AND SUGAR CO.

          Defendant.
               ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
       The undersigned acknowledges that he/she has read the Confidentiality Order in
the above-captioned action and attached hereto, understands the terms, and agrees to
be bound by its terms. The undersigned submits to the jurisdiction of the United States
District Court for the Central District of Illinois in matters relating to the Confidentiality
Order and understands that the terms of the Confidentiality Order obligate him/her to
use materials designated as Confidential Information in accordance with the
Confidentiality Order solely for the purposes of the above-captioned action, and not to
disclose any such Confidential Information to any other person, firm or concern.

        The undersigned acknowledges that violation of the Confidentiality Order may
result in penalties for contempt of court.

Name:

Title:

Employer:

Business Address:

Dated:

Signature:




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